                                  UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF WASHINGTON

 In re:                                                      Case No. 17-


 BANCHERO, Modesto James,                                    CHAPTER 13 PLAN

                                                              X Original __Amended
                     Debtor




 1. Means Test Result:
 Debtor is (check one):
  X     a below median income debtor with a 36 month applicable commitment period
 _____ an above median income debtor with a 60 month applicable commitment period

 II. Plan Payments:
 No later than 30 days after the filing of the plan or the order for relief, whichever date is earlier, the debtor
 will commence making payments to the Trustee as follows:
      A. AMOUNT: $1,900.00
      B. FREQUENCY (check one):
  X Monthly
      Twice per month
      Every two weeks
      Weekly
      C. TAX REFUNDS: Debtor (check one): ___COMMITS; X DOES NOT COMMIT; all tax refunds to
      funding the plan. Committed refunds shall be paid in addition to the plan payment stated above. If no
      selection is made, tax refunds are committed.
      D. PAYMENTS: Plan payments shall be deducted from the debtor’s wages unless otherwise agreed to
      by the Trustee or ordered by the Court.
      E. OTHER: Plan payments shall step up to $2,325 per month starting November 2018.

 III. Plan Duration:
 The plan’s length shall not be less than the debtor’s applicable commitment period as defined under 11
 U.S.C. §§ 1322(d) and 1325(b)(4) unless the plan either provides for payment in full of allowed unsecured
 claims over a shorter period or is modified post-confirmation. A below median debtor's plan length shall
 automatically be extended to 60 months after the first payment is due if necessary to complete the plan.

 IV. Distribution of Plan Payments:
 Upon confirmation, the Trustee shall disburse funds received in the following order and creditors shall apply
 them accordingly, PROVIDED THAT disbursements for domestic support obligations and federal taxes shall
 be applied according to applicable non-bankruptcy law:
     A. ADMINISTRATIVE EXPENSES:
          1. Trustee. The percentage set pursuant to 28 USC §586(e).
          2. Other administrative expenses. As allowed pursuant to 11 USC §§ 507(a)(2) or 707(b).
          3. Attorney's Fees: Pre-confirmation attorney fees and/or costs and expenses are estimated to be
          $4,500.00. $1,320.00 was paid prior to filing. To the extent pre-confirmation fees and/or costs
          exceed $3,500, an appropriate application, including a complete breakdown of time and costs, shall
          be filed with the Court within 21 days after confirmation. Approved attorney compensation shall be
          paid as follows (check one):
               a.       Prior to all creditors;
               b. ____ Monthly payments of $______;
               c.       All remaining funds available after designated monthly payments to the following
               creditors:                                                                                .
               d. X Other: See paragraph XII(c).

 If no selection is made, fees will be paid after monthly payments specified in Sections IV.B and
 IV.C.

 [Local Bankruptcy Form 13-4; eff. 12/16]                1

Case 17-14396-CMA              Doc 2       Filed 10/05/17         Ent. 10/05/17 15:34:43             Pg. 1 of 5
 B. CURRENT DOMESTIC SUPPORT OBLIGATION: Payments to creditors whose claims are filed
 and allowed pursuant to 11 USC § 502(a) or court order as follows (if left blank, no payments shall be
 made by the Trustee):

               Creditor                             Monthly amount
               _________________                    $______
               _________________                    $______


 C.        SECURED CLAIMS: Payments will be made to creditors whose claims are filed and allowed
 pursuant to 11 USC § 502(a) or court order, as stated below. Unless ranked otherwise, payments to
 creditors will be disbursed at the same level. Secured creditors shall retain their liens until the payment
 of the underlying debt, determined under nonbankruptcy law, or discharge under 11 USC § 1328, as
 appropriate. Secured creditors, other than creditors holding long term obligations secured only by a
 security interest in real property that is the debtor’s principal residence, will be paid the principal amount
 of their claim or the value of their collateral, whichever is less, plus per annum uncompounded interest
 on that amount from the petition filing date.

 Interest rate and monthly payment in the plan control unless a creditor timely files an objection to
 confirmation. If a creditor timely files a proof of claim for an interest rate lower than that proposed in the
 plan, the claim shall be paid at the lower rate. Value of collateral stated in the proof of claim controls
 unless otherwise ordered following timely objection to claim. The unsecured portion of any claim shall
 be paid as a nonpriority unsecured claim unless entitled to priority by law.

 Only creditors holding allowed secured claims specified below will receive payment from the
 Trustee. If the interest rate is left blank, the applicable interest rate shall be 12%. If overall plan
 payments are sufficient, the Trustee may increase or decrease post-petition installments for ongoing
 mortgage payments, homeowner’s dues and/or real property tax holding accounts based on changes in
 interest rates, escrow amounts, dues and/or property taxes.

     1. Continuing Payments on Claims Secured Only by Security Interest in Debtor’s Principal
 Residence and Non-Escrowed Postpetition Property Tax Holding Account (Interest included in payments at
 contract rate, if applicable):

 Rank Creditor                Nature of Debt             Property                 Monthly Payment
  1   Shellpoint              Mortgage                   Residence                $1,477.50
                                                                                  $
                                                                                  $
                                                                                  $

     2. Continuing Payments and Non-Escrowed Postpetition Property Tax Holding Account on Claims
 Secured by Other Real Property (Per annum interest as set forth below):

 Rank    Creditor            Nature of Debt                   Property        Monthly Payment Rate
 ____   ________             _________________                 _______________ _______        ___%
 ____   ________             _________________                 _______________ _______        ___%
 ____   ________             _________________                 _______________ _______        ___%
 ____   ________             _________________                 _______________ _______        ___%

     3. Cure Payments on Mortgage/Deed of Trust/Property Tax/Homeowner's Dues Arrearage

      Periodic                                                          Arrears to be             Interest
 Rank Payment         Creditor               Property                       Cured                  Rate
  2 $100.00          Shellpoint              Residence                     $27,444.83               0%
            * See paragraph XII(d) for additional terms re: periodic payments.
     $                                                                     $                          %
     $                                                                     $                          %
     $                                                                     $                          %



 [Local Bankruptcy Form 13-4; eff. 12/16]                 2

Case 17-14396-CMA               Doc 2      Filed 10/05/17          Ent. 10/05/17 15:34:43             Pg. 2 of 5
      4. Payments on Claims Secured by Personal Property:
           a. 910 Collateral.
 The Trustee shall pay the contract balance as stated in the allowed proof of claim for a purchase-money
 security interest in any motor vehicle acquired for the personal use of the debtor(s) within 910 days
 preceding the filing date of the petition or in other personal property acquired within one year preceding the
 filing date of the petition as follows. Debtor stipulates that pre-confirmation adequate protection payments
 shall be paid by the Trustee as specified upon the creditor filing a proof of claim. If no amount is specified,
 the Trustee shall pay the amount stated as the “Equal Periodic Payment”.

       Equal                          Description                            Pre-Confirmation
       Periodic                       of                                     Adequate Protection Interest
 Rank Payment         Creditor        Collateral Payment                                          Rate
 ____ $______         ______________ _________________                        $_______            ___%
 ____ $______         ______________ _________________                        $_______            ___%
 ____ $______         ______________ _________________                        $_______             ___%

           b. Non-910 Collateral.
 The Trustee shall pay the value of collateral stated in the proof of claim, unless otherwise ordered following
 timely objection to the claim, for a purchase-money security interest in personal property which is non-910
 collateral. Debtor stipulates that pre-confirmation adequate protection payments shall be paid by the Trustee
 as specified upon the creditor filing a proof of claim. If no amount is specified, the Trustee shall pay the
 amount stated as the “Equal Periodic Payment”.
        Equal                        Debtor(s)       Description                 Pre-Confirmation
        Periodic                     Value of         of Adeq.                   Protection            Interest
 Rank Payment Creditor                Collateral      Collateral                  Payment                Rate
 ____ $______ ______________ $_______                  _____________                 $_______           ___%
 ____ $______ ______________ $_______                  _____________                 $_______            ___%
 ____ $______ ______________ $_______                  _____________                 $_______            ___%
 ____ $______ ______________ $_______                  _____________                 $_______            ___%

      D. PRIORITY CLAIMS: Payment in full, on a pro rata basis, of filed and allowed claims entitled to
 priority in the order stated in 11 USC § 507(a).

      E. NONPRIORITY UNSECURED CLAIMS: From the balance remaining after the above payments,
 the Trustee shall pay filed and allowed nonpriority unsecured claims as follows:

      1. Specially Classified Nonpriority Unsecured Claims. The Trustee shall pay the following claims
 prior to other nonpriority unsecured claims as follows:
                                 Amount of          Percentage          Reason for Special
 Rank        Creditor             Claim              To be Paid         Classification
 ____        _____________        $_________        ________%          _______________
 _____       _____________        $_________        ________%          __________________

     2. Other Nonpriority Unsecured Claims (check one):
         a.       100% paid to allowed nonpriority unsecured claims. OR
         b. X Debtor shall pay at least $0.00 to allowed nonpriority unsecured claims over the
         term of the plan. Debtor estimates that such creditors will receive approximately 0% of
         their allowed claims.

 V. Secured Property Surrendered:
 The secured property described below will be surrendered to the following named creditors on confirmation.
 Upon confirmation, all creditors (including successors and assigns) to which the debtor is surrendering
 property pursuant to this section are granted relief from the automatic stay to enforce their security interest
 against the property including taking possession and sale.

          Creditor                                               Property to be Surrendered

 VI. Executory Contracts and Leases:
 The debtor will assume or reject executory nonresidential contracts or unexpired leases as noted below.
 Assumption will be by separate motion and order, and any cure and/or continuing payments will be paid
 directly by the debtor under Section VII, unless otherwise specified in Section XII with language designating
 [Local Bankruptcy Form 13-4; eff. 12/16]               3

Case 17-14396-CMA              Doc 2      Filed 10/05/17         Ent. 10/05/17 15:34:43             Pg. 3 of 5
 that payments will be made by the Trustee, the amount and frequency of the payments, the ranking level for
 such payments with regard to other creditors, the length of the term for continuing payments and the interest
 rate, if any, for cure payments. Any executory contract or unexpired lease not assumed pursuant to 11 USC §
 365(d) is rejected. If rejected, the debtor shall surrender any collateral or leased property and any duly filed
 and allowed unsecured claim for damages shall be paid under Section IV.E.2.

 Contract/Lease                                                           Assumed or Rejected


 VII. Payments to be made by Debtor and not by the Trustee:
 The following claims shall be paid directly by the debtor according to the terms of the contract or support or
 withholding order, and shall receive no payments from the Trustee. (Payment stated shall not bind any party.)
     A. DOMESTIC SUPPORT OBLIGATIONS: The claims of the following creditors owed domestic
     support obligations shall be paid directly by the debtor as follows:

 Creditor                         Current Monthly Support Obligation Monthly Arrearage Payment
 _____________                    $_____________                     $______________
 _____________                    $_____________                     $______________


     B. OTHER DIRECT PAYMENTS:
 Creditor      Nature of Debt        Amount of Claim                                 Monthly Payment
 _____________ _____________________ $_____________                                 $______________
 _____________ _____________________ $_____________                                 $______________

 VIII. Property of the Estate
 Property of the estate is defined in 11 USC §§ 1306(a). Unless otherwise ordered by the Court, property of
 the estate in possession of the debtor on the petition date shall vest in the debtor upon confirmation. However,
 the debtor shall not lease, sell, encumber, transfer or otherwise dispose of any interest in real property or
 property without the Court's prior approval, except that the debtor may dispose of unencumbered personal
 property with a value of $10,000.00 or less without the Court's approval. Property (including, but not limited
 to, bonuses, inheritances, tax refunds or any claim) acquired by the debtor post-petition shall vest in the
 Trustee and be property of the estate. The debtor shall promptly notify the Trustee if the debtor becomes
 entitled to receive a distribution of money or other property (including, but not limited to, bonuses,
 inheritances, tax refunds or any claim) whose value exceeds $2,500.00, unless the plan elsewhere specifically
 provides for the debtor to retain the money or property.

 IX. Liquidation Analysis Pursuant to 11 USC § 1325(a)(4)
 The liquidation value of the estate is $0.00. In order to obtain a discharge, the debtor must pay the
 liquidation value or the total of allowed priority and nonpriority unsecured claims, whichever is less. Under
 11 USC §§ 1325(a)(4) and 726(a)(5), interest on allowed unsecured claims under Section IV.D and IV.E shall
 be paid at the rate of 0% per annum from the petition filing date (no interest shall be paid if left blank).

 X. Other Plan Provisions:
     A. No funds shall be paid to nonpriority unsecured creditors until all secured, administrative and
     priority unsecured creditors are paid in full, provided that no claim shall be paid before it is due.
     B. Secured creditors shall not assess any late charges, provided payments from the plan to the secured
     creditor are current, subject to the creditor’s rights under state law if the case is dismissed.
     C. The holder of a secured claim shall file and serve on the Trustee, debtor and debtor’s counsel a notice
     itemizing all fees, expenses, or charges (1) hat were incurred in connection with the claim after the
     bankruptcy case was filed, and (2) that the holder asserts are recoverable against the debtor or the
     debtor’s principal residence. The notice shall be served within 180 days after the date on which the fees,
     expenses or charges are incurred, per Fed. R. Bankr. P. 3002.1(c)
     D. Mortgage creditors shall file and serve on the Trustee, debtor and debtor’s counsel a notice of any
     change in the regular payment amount, including any change that results from an interest rate or escrow
     adjustment, no later than 21 days before a payment in the new amount is due, per Fed. R. Bankr. P.
     3002.1(b).
     E. Provision by secured creditors or their agents or attorneys of any of the notices, statements or other
     information provided in this section shall not be a violation of the 11 USC § 362 automatic stay or of
     privacy laws.


 [Local Bankruptcy Form 13-4; eff. 12/16]               4

Case 17-14396-CMA              Doc 2       Filed 10/05/17        Ent. 10/05/17 15:34:43             Pg. 4 of 5
 XI. Certification:
     A. The debtor certifies that all post-petition Domestic Support Obligations have been paid in full on the
     date of this plan and will be paid in full at the time of the confirmation hearing. Debtor acknowledges
     that timely payment of such post-petition Domestic Support Obligations is a condition of plan
     confirmation pursuant to 11 USC § 1325(a)(8).
     B. By signing this plan, the debtor and counsel representing the debtor certify that this plan does not
     alter the provisions of Local Bankruptcy Form 13-4, except as provided in Section XII below. Any
     revisions to the form plan not set forth in Section XII shall not be effective.

 XII. Additional Case-Specific Provisions:
      (a) Any refund to Debtor upon dismissal or discharge shall be disbursed through Debtor’s counsel.
      (b) The plan shall terminate and Debtor(s) shall receive a discharge when secured, priority and
 administrative claims provided for in the plan have been paid in full, provided that at least 36 months has
 elapsed since the date that the first payment came due under the plan pursuant to 11 USC § 1326.
      (c) After payments to the on-going mortgage payments provided that prior to disbursement of on-going
 mortgage payments, the trustee shall set aside $2,180 to be paid to Debtor's counsel for pre-confirmation
 attorney fees upon confirmation.
      (d) Trustee shall pay all available funds to mortgage arrears (which may be more than the periodic
 amount set forth above in paragraph IV.C.3) after payment of the on-going mortgage and administrative
 claims. Monthly payments on the mortgage arrears shall step up to $590 in month 13 of the case. Mortgage
 arrears shall be paid in full prior to any funds being paid to general unsecured claims.


 /s/ Travis A. Gagnier                  /s/ Modesto James Banchero, 5247        October 4, 2017
 Travis A. Gagnier #26379               DEBTOR                Last 4 digits SS#                 Date
 Attorney for Debtor(s)

 October 5, 2017
 Date                                   DEBTOR                   Last 4 digits SS#                    Date




 [Local Bankruptcy Form 13-4; eff. 12/16]               5

Case 17-14396-CMA              Doc 2      Filed 10/05/17        Ent. 10/05/17 15:34:43            Pg. 5 of 5
